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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


         In re:                                                             Chapter 11

         DAVID’S BRIDAL, INC., et al.,1                                     Case No. 18-12635 (LSS)

                                               Debtors.                     Jointly Administered


                               NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                                 HEARING ON JANUARY 4, 2019 AT 1:30 P.M. (ET)

         CONTESTED MATTERS GOING FORWARD

         1.         Confirmation of Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                    Bankruptcy Code [D.I. 12, 11/19/18]

                    Confirmation Response Deadline:                      December 21, 2018 at 5:00 p.m. (ET)
                                                                         [Extended for certain parties]

                    Assumption Objection Deadline:                       December 14, 2018 at 4:00 p.m. (ET)
                                                                         [Extended for certain parties]

                    Responses Received:                                  See Exhibit A attached hereto

                    Related Documents:

                        A.       Disclosure Statement for Joint Prepackaged Plan of Reorganization Under
                                 Chapter 11 of the Bankruptcy Code [D.I. 13, 11/19/18]

                        B.       Order (A) Scheduling Combined Hearing to Consider (I) Approval of
                                 Disclosure Statement, (II) Approval of Solicitation Procedures and Forms of
                                 Ballots, and (III) Confirmation of Prepackaged Plan; (B) Establishing an
                                 Objection Deadline to Object to Disclosure Statement and Plan;
                                 (C) Approving the Form and Manner of Notice of Combined Hearing,
                                 Objection Deadline, and Notice of Commencement; (D) Approving Notice
                                 and Objection Procedures for the Assumption of Executory Contracts and
                                 Unexpired Leases; (E) Extending Time, and Upon Plan Confirmation,
                                 Waiving of Requirements to (I) Convene Section 341 Meeting, and (II) File


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                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
                are: David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc.
                (3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken,
                Pennsylvania 19428.
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                        Statements of Financial Affairs and Schedules of Assets and Liabilities; and
                        (F) Granting Related Relief [D.I. 95, 11/20/18]

                C.      Notice of Commencement of Cases Under Chapter 11 of the Bankruptcy Code
                        and Summary of Joint Prepackaged Chapter 11 Plan and Notice of Hearing to
                        Consider (A) Adequacy of Disclosure Statement and Solicitation Procedures;
                        (B) Confirmation of Plan of Reorganization; and (C) Related Materials
                        [D.I. 105, 11/21/18]

                D.      Notice of Assumption of Executory Contracts and Unexpired Leases of
                        Debtors and Related Procedures [D.I. 138, 11/30/18]

                E.      Notice of Filing of Plan Supplement to Proposed Joint Prepackaged Plan of
                        Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 167,
                        12/11/18]

                F.      Declaration of Jung W. Song on Behalf of Donlin, Recano & Company, Inc.
                        Regarding Solicitation of Votes and Tabulation of Ballots Accepting and
                        Rejecting Proposed Joint Prepackaged Plan of Reorganization Under Chapter
                        11 of the Bankruptcy Code [D.I. 247, 12/28/18]

                G.      Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                        Bankruptcy Code [D.I. 248, 12/28/18]

                H.      Notice of Filing of Blackline for Revised Proposed Joint Prepackaged Plan of
                        Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 249,
                        12/28/18]

                I.      Declaration of Carrianne J.M. Basler in Support of Confirmation of the
                        Debtors’ Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                        Bankruptcy Code [D.I. 249, 12/28/18]

                J.      Debtors’ (1) Memorandum of Law in Support of (I) Approval of
                        (A) Disclosure Statement, (B) Solicitation of Votes and Voting Procedures,
                        and (C) Form of Ballots, and (II) Confirmation of Joint Prepackaged Chapter
                        11 Plan of Reorganization of David’s Bridal, Inc. and Its Affiliated Debtors
                        and (2) Omnibus Reply to Objections Thereto [D.I. 251, 12/28/18]

                K.      Declaration of Stephen Goldstein in Support of Confirmation of the Debtors’
                        Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                        Bankruptcy Code [D.I. 252, 12/28/18]

                L.      Notice of Filing of Proposed Confirmation Order [D.I. 253, 12/28/18]




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                   M.      Motion for Leave to Exceed Page Limit Requirements With Respect to
                           Debtors’ (1) Memorandum of Law in Support of (I) Approval of
                           (A) Disclosure Statement, (B) Solicitation of Votes and Voting Procedures,
                           and (C) Form of Ballots, and (II) Confirmation of Joint Prepackaged Chapter
                           11 Plan of Reorganization of David’s Bridal, Inc. and Its Affiliated Debtors
                           and (2) Omnibus Reply to Objections Thereto [D.I. 254, 12/28/18]

                   N.      Notice of Filing of Supplements to Plan Supplement to Proposed Joint
                           Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy
                           Code [D.I. 255, 12/28/18]

                Status:    A chart setting forth the status of the objections is attached as Exhibit A to the
                           Debtors’ Memorandum of Law (Item J above). The combined hearing on
                           disclosure statement approval and plan confirmation is going forward.

         2.     Debtors’ Application for Entry of an Order Authorizing the Debtors to Employ and
                Retain Evercore Group L.L.C. as Investment Banker Effective Nunc Pro Tunc to the
                Petition Date [D.I. 128, 11/29/18]

                Response Deadline:                            December 11, 2018 at 4:00 p.m. (ET)
                                                              [Extended for various creditors until 11:00
                                                              a.m. (ET) on December 14, 2018]

                Related Documents:

                   A.      Debtors’ Motion for an Order Granting the Debtors Leave and Permission to
                           File the Debtors’ Reply to Limited Objection to Debtors’ Application to
                           Retain Evercore Group L.L.C. as Investment Banker [D.I. 200, 12/17/18]

                   B.      Motion for Leave to File Late Reply of Evercore Group L.L.C. in Support of
                           Debtors’ Application for Entry of an Order Authorizing the Debtors to
                           Employ and Retain Evercore Group L.L.C. as Investment Banker Effective
                           Nunc Pro Tunc to the Petition Date [D.I. 201, 12/17/18]

                   C.      Supplemental Declaration of Stephen Goldstein in Support of the Debtors’
                           Application for an Order Authorizing the Debtors to Employ and Retain
                           Evercore Group L.L.C. as Investment Banker Effective Nunc Pro Tunc to the
                           Petition Date [D.I. 202, 12/17/18]

                Responses Received:

                   D.      Informal comments from the Office of the United States Trustee

                   E.      Limited Objection of Various Creditors (Oaktree Capital Management,
                           Courage Capital Management, AlbaCore Capital LLP, and Deutsche Bank
                           AG Cayman Islands Branch) [D.I. 181, 12/14/18]


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                     F.        Declaration of Martin Lewis in Support of Limited Objection by Various
                               Creditors to Debtors’ Application to Retain Evercore Group L.L.C. as
                               Investment Banker [D.I. 198, 12/15/18]

                     G.        Notice of Filing Amended Schedule to Lewis Declaration [D.I. 256, 12/30/18]

                  Status:      The Debtors have revised the proposed order to address the comments
                               received from the Office of the United States Trustee. The Debtors and
                               Evercore have sought leave to file a reply in support of the Application and in
                               response to Item E. This matter is going forward.


         Dated:     January 2, 2019                 /s/ Jaime Luton Chapman
                    Wilmington, Delaware            YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                    Robert S. Brady (No. 2847)
                                                    Edmon L. Morton (No. 3856)
                                                    Jaime Luton Chapman (No. 4936)
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                                                    -and-

                                                    DEBEVOISE & PLIMPTON LLP
                                                    M. Natasha Labovitz (admitted pro hac vice)
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                                                    -and-




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                                    Co-Counsel for the Debtors and Debtors in Possession




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                                                                                 EXHIBIT A


                    Objections to the Debtors’ Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy
                    Code1

         1         Maricopa County Treasurer’s Objection of Proposed Joint Prepackaged Plan of the Reorganization Under Chapter 11 of the
                   Bankruptcy Code [D.I. 183, 12/14/18]

         2         Limited Objection of Brookfield Properties Retail Group, Hines Real Estate Investment Trust, Inc., Philips International
                   Holding Corp., and Site Centers Corp. to the Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the
                   Bankruptcy Code [D.I. 232, 12/21/18]

         3         Limited Objection of ARC CTCHRNC001, LLC, ARC SSSDLLA001, LLC, Brixmor Operating Partnership LP, Centerpoint
                   Development Company L.L.C., Federal Realty Investment Trust, Gateway Pinole Vista, LLC, Manana-DCIT, LLC, MT San
                   Antonio I, LLC, PGIM Real Estate, R46 Realty Associates, L.P., Starwood Retail Partners, LLC, and the Macerich Company to
                   the Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 235, 12/21/18]


                    Objections to (A) the Debtors’ Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy
                    Code and (B) the Debtors’ Assumption of Executory Contracts and Unexpired Leases.

         4       A Weingarten’s Limited Objection to (1) Notice of Assumption of Executory Contracts and Unexpired Leases of Debtors and
                   Related Procedures, (2) Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, and
                   (3) Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy
                   Code [D.I. 164, 12/11/18]




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                The Debtors received informal comments from the United States and the Texas Comptroller of Public Accounts, which have been resolved through language
                in the proposed confirmation order. The Debtors also received informal comments from the Office of the United States Trustee, which have been resolved
                or the Debtors anticipate will be resolved in advance of the hearing.




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                B Supplement to Weingarten’s Limited Objection to (1) Notice of Assumption of Executory Contracts and Unexpired Leases of
                  Debtors and Related Procedures, (2) Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the
                  Bankruptcy Code, and (3) Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter
                  11 of the Bankruptcy Code [D.I. 257, 12/31/18]

         5      4545 Kennedy, LLC’s Limited Objection to (1) Notice of Assumption of Executory Contracts and Unexpired Leases of Debtors
                and Related Procedures, (2) Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, and
                (3) Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of reorganization Under Chapter 11 of the Bankruptcy Code
                [D.I. 190, 12/14/18]

         6      Spring Creek Improvements, LLC, Fairview Heights Improvements, LLC, Agree Limited Partnership, Ramco West Oaks II,
                LLC, and Villa View, LLC’s Limited Objection to (1) Notice of Assumption of Executory Contracts and Unexpired Leases of
                Debtors and Related Procedures, (2) Joint Prepackaged Chapter 11 of the Bankruptcy Code, and (3) Disclosure Statement for the
                Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 191, 12/14/18]

         7      A Limited Objection and Reservation of Rights of Salesforce.com, Inc. to the Assumption and Assignment of Executory
                  Contracts and Release [D.I. 184, 12/14/18]

                B Declaration of Kevin Ramirez in Support of the Limited Objection and Reservation of Rights of Salesforce.com, Inc. to the
                  Assumption and Assignment of Executory Contracts [D.I. 185, 12/14/18]

         8      Joinder of Washington Prime Group Inc. to the Limited Objection of Certain Landlords to the Debtors’ Proposed Joint
                Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 231, 12/21/18]

         9      Limited Objection, Joinder and Reservation of Rights of Cumberland Avenue Plaza, L.L.C. to the Debtors’ (I) Proposed Joint
                Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, and (II) Disclosure Statement for Joint
                Prepackaged Chapter 11 Plan of Reorganization of David’s Bridal, Inc. and its Affiliated Debtors [D.I. 233, 12/21/18]

         10 Joinder of Madison Waldorf LLC to Weingarten’s Limited Objection to (1) Notice of Assumption of Executory Contracts and
            Unexpired Leases of Debtors and Related Procedures, (2) Joint Prepackaged Chapter 11 Plan of Reorganization Under Chapter
            11 of the Bankruptcy Code, and (3) Disclosure Statement for the Joint Prepackaged Plan of Reorganization Under Chapter 11 of
            the Bankruptcy Code [D.I. 234, 12/21/18]




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         11 Comenity Capital Bank’s Limited Objection and Reservation of Rights with Respect to (1) the Notice of Assumption of
            Executory Contracts and Unexpired Leases of Debtors and Related Procedures and (2) the Proposed Joint Prepackaged Plan of
            Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 246, 12/28/18]


                Objections to the Debtors’ Assumption of Executory Contracts and Unexpired Leases

         12     Limited Objection and Reservation of Rights of Cumberland Avenue Plaza, L.L.C. to the Debtors’ Notice of Assumption of
                Executory Contracts and Unexpired Leases of Debtors and Related Procedures [D.I. 186, 12/14/18]

         13     CBL & Associates Management, Inc.’s Limited Objection to Debtor’s Stated Cure Amounts [D.I. 192, 12/14/18]

         14     Limited Objection of Washington Prime Group Inc. to the Notice of Assumption of Executory Contracts and Unexpired Leases
                of Debtors and Related Procedures [D.I. 193, 12/14/18]

         15     Limited Objection of Brookfield Properties Retail Group, Hines Real Estate Investment Trust, Inc., Philips International
                Holding Corp., and Site Centers Corp. to the Notice of Assumption of Executory Contracts and Unexpired Leases of Debtors
                and Related Procedures [D.I. 197, 12/14/18]

         16     Limited Objection, Joinder and Reservation of Rights of Levin Management Corporation to the Notice of Assumption of
                Executory Contracts and Unexpired Leases of Debtors and Related Procedures [D.I. 204, 12/17/18]

         17     Limited Objection of KIR Maple Grove L.P., KIR Tukwila, L.P., 280 Metro Limited Partnership and Amerishop Suburban,
                L.P. to Debtors’ Notice of Assumption of Unexpired Leases of Debtors and Related Procedure [D.I. 225, 12/19/18]

         18     Limited Objection of ARC CTCHRNC001, LLC, ARC SSSDLLA001, LLC, Brixmor Operating Partnership LP, Centerpoint
                Development Company L.L.C., Federal Realty Investment Trust, Gateway Pinole Vista, LLC, Manana-DCIT, LLC, PGIM Real
                Estate, R46 Realty Associates, L.P., Starwood Retail Partners, LLC, The Macerich Company and Weitzman to the Notice of
                Assumption of Executory Contracts and Unexpired Leases of Debtors and Related Procedures [D.I. 229, 12/20/18]




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                Objections to the Debtor’s Combined (1) Determination of the Adequacy of Their Disclosure Statement and
                (2) Confirmation of their Proposed Join Prepackaged Plan of Reorganization Including but not Limited to the Releases
                Contained in The Plan

         19     Objections and Reservation of Rights of Jenny Yoo Collection, Inc. to the Debtors Sought After Combined (1) Determination
                of the Adequacy of their Disclosure Statement and (2) Confirmation of Their Proposed Joint Prepackaged Plan of
                Reorganization Including but not Limited to the Releases Contained in the Plan [D.I. 238, 12/21/18]




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